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STATEMENT IN
SUPPORT OF PROBABLE CAUSE

IN RE: Juan Eduardo TORRES-Lara
I, Efren D. Javier, declare and state as follows:

On or about December 19, 2024 the defendant Juan Eduardo TORRES-Lara was apprehended in Laredo, Texas. After a
brief interview it was determined that, Juan Eduardo TORRES-Lara was an undocumented alien from Mexico and
subsequently placed under arrest. Further investigation revealed that Juan Eduardo TORRES-Lara was previously
REMOVED from the United States on 12/14/2024 at Laredo, Tx. There is no record that Juan Eduardo TORRES-Lara
has applied for or received permission from the Attorney General or the Secretary of Homeland Security to re-enter the
United States after deportation.

I declare (certify, verify, or state) under penalty of perjury that the foregoing is true and correct.

Executed on the 20th day of December, 2024 at Laredo, Texas. cE —

Efrew’D. Javier

rder Patrol Agent
United States Border Patrol

